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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was served this 30 day of

June, 2022 by electronic mail, pursuant to Civ. R. 5(B)(2)(f), upon:

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